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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Tyrion S Hodges
                                  Plaintiff,
v.                                                     Case No.: 1:20−cv−04760
                                                       Honorable John F. Kness
Rochelle Parker, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 14, 2022:


        MINUTE entry before the Honorable John F. Kness: Telephonic status hearing
held on 2/14/2022. Plaintiff appeared pro se, and Defendants appeared through counsel.
Pursuant to the discussions held in open court, the parties are directed to meet and confer
concerning an agreed schedule governing the remainder of case. On or before 3/7/2022,
the parties must submit a Word version of their proposed scheduling order under Rule
16(b) to the Court's proposed order mailbox, Proposed_Order_Kness@;ilnd.uscourts.gov.
A telephonic status hearing is set for 3/30/2022 at 10:10 AM. The parties shall use the
same call−in information [53]. Mailed notice(ef, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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